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                                                  Feb 06, 2025
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  February                    25

                     /s/ R. Alvarez


   No Bail Warrant Pending Hearing


                            CHI SOO KIM
                            UNITED STATES MAGISTRATE JUDGE
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